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March 24, 2023


The Honorable Margo K. Brodie
United States District Court Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201


Re: United States v. Steven Nerayoff--Crim. No. 20-008 (MKB)


Dear Judge Brodie:

Considering the current status of the case, I write seeking a modification to Mr. Steven Nerayoff’s
pretrial release conditions; specifically, to request that the restrictions on his travel be removed,
his passport returned, that the $750,000 appearance bond secured by a lien against his residence
be removed and that he be allowed to remain at liberty upon his personal recognizance.
I have conferred with both the government (AUSA Jonathan Lax) and Pretrial Services (Officer
Kristina DePrimo), and both have no objection to our request.
Thank you for your consideration.


Respectfully submitted,

Michael A. Scotto


cc: Counsel for the Government via ECF and email
